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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )           8:09CR382
                     Plaintiff,                  )
                                                 )
       vs.                                       )             ORDER
                                                 )
FELIX ALARCON,                                   )
                                                 )
                     Defendant.                  )




       This matter is before the court on the motion of Kristina A. Murphree to withdraw as
counsel for the defendant, Felix Alarcon. (Alarcon) (Filing No. 81).       Ms. Murphree
represents she has a conflict of interest in this matter. Ms. Murphree’s motion to withdraw
(Filing No. 81) is granted. Jessica L. Milburn, P.O. Box 6668, Lincoln, Nebraska 68506,
(402) 488-7894, is appointed to represent Alarcon for the balance of these proceedings
pursuant to the Criminal Justice Act. Ms. Milburn shall enter her appearance forthwith. Ms.
Murphree shall forthwith provide Ms. Milburn with the discovery materials provided the
defendant by the government and such other materials obtained by Ms. Murphree which
are material to Alarcon’s defense.
       The clerk shall provide a copy of this order to Ms. Milburn and the Office of the
Federal Public Defender.


       IT IS SO ORDERED.
       DATED this 4th day of January, 2010.


                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
